  Case: 2:15-cv-02970-EAS-NMK Doc #: 1 Filed: 11/04/15 Page: 1 of 8 PAGEID #: 1



                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

LISA SHAW,                                        )
12280 Claysville                                  )
Chandlersville, OH 43727                          )
                                                  )
       Plaintiff,                                 )
                                                  )
       v.                                         )      Case No.
                                                  )
ALLY FINANCIAL, INC.,                             )
200 Renaissance Center                            )
Detroit, MI 48234                                 )
                                                  )
       Defendant.                                 )

                                  PLAINTIFF’S COMPLAINT

       Plaintiff, LISA SHAW, (hereinafter referred to as "Plaintiff") brings this action for damages,

and other legal and equitable remedies resulting from the illegal actions of ALLY FINANCIAL,

INC. (“Defendant”) in negligently, knowingly, and/or willfully contacting Plaintiff on Plaintiff’s

cellular telephone without her prior express consent within the meaning of the Telephone Consumer

Protection Act, 47 U.S.C. § 227 et seq. ("TCPA"). The TCPA prohibits unsolicited voice calls to

cellular telephones without prior express consent within the meaning of the TCPA. In an effort to

enforce a fundamental right to privacy, Plaintiff alleges, by and through her counsel, Jack S. Malkin,

Esq., the following against Defendant:

                                         INTRODUCTION

   1. Plaintiff’s Complaint is based on the Telephone Consumer Protection Act., 47 U.S.C. 227,

       et seq. (“TCPA”).




                                                  1
Case: 2:15-cv-02970-EAS-NMK Doc #: 1 Filed: 11/04/15 Page: 2 of 8 PAGEID #: 2



 2. The TCPA was designed to prevent calls and text messages like the ones described herein,

    and to protect the privacy of citizens like Plaintiffs. “Voluminous consumer complaints

    about abuses of telephone technology – for example, computerized calls dispatched to

    private homes – prompted Congress to pass the TCPA.” Mims v. Arrow Fin. Servs., LLC,

    132 S. Ct. 740, 744 (2012).

 3. In enacting the TCPA, Congress intended to give consumers a choice as to how corporate

    similar entities may contact them, and made specific findings that “[t]echnologies that might

    allow consumers to avoid receiving such calls are not universally available, are costly, are

    unlikely to be enforced, or place an inordinate burden on the consumer. TCPA, Pub. L. No.

    102–243, § 11. In support of this, Congress found that

            [b]anning such automated or prerecorded telephone calls to the
            home, except when the receiving party consents to receiving the call
            or when such calls are necessary in an emergency situation affecting
            the health and safety of the consumer, is the only effective means of
            protecting telephone consumers from this nuisance and privacy
            invasion.

    Id. at § 12; see also Martin v. Leading Edge Recovery Solutions, LLC, 2012 WL 3292838,

    at* 4 (N.D.Ill. Aug. 10, 2012) (citing Congressional findings on TCPA’s purpose).

 4. Congress also specifically found that “the evidence presented to the Congress indicates that

    automated or prerecorded calls are a nuisance and an invasion of privacy, regardless of the

    type of call….” Id. at §§ 12-13. See also, Mims, 132 S. Ct. at 744.

 5. As Judge Easterbrook of the Seventh Circuit recently explained in a TCPA case regarding

    calls to a non-debtor similar to this one:

            The Telephone Consumer Protection Act … is well known for its
            provisions limiting junk-fax transmissions. A less-litigated part of the
            Act curtails the use of automated dialers and prerecorded messages to
            cell phones, whose subscribers often are billed by the minute as soon
                                                 2
Case: 2:15-cv-02970-EAS-NMK Doc #: 1 Filed: 11/04/15 Page: 3 of 8 PAGEID #: 3



             as the call is answered—and routing a call to voicemail counts as
             answering the call. An automated call to a landline phone can be an
             annoyance; an automated call to a cell phone adds expense to
             annoyance.

     Soppet v. Enhanced Recovery Co., LLC, 679 F.3d 637, 638 (7th Cir. 2012).

                              JURISDICTION AND VENUE

 6. This Court has federal question jurisdiction because this case arises out of violations of

     federal law. 47 U.S.C. §227(b); Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740 (2012).

 7. Venue and personal jurisdiction in this District are proper because Defendant does or

     transacts business within this District, and a material portion of the events at issue occurred

     in this District.

                                           PARTIES

 8. Plaintiff is a natural person residing in Chandlersville, Muskingum County, Ohio.

 9. Plaintiff is, and at all times mentioned herein, a “person” as defined by 47 U.S.C. § 153 (10).

 10. Plaintiff is informed and believes, and thereon alleges, that Defendant is, and at all times

     mentioned herein, was a corporation whose corporate headquarters are in Detroit, Michigan.

 11. Defendant is, and at all times mentioned herein, a corporation and is a “person,” as defined

     by 47 U.S.C. § 153 (10).

 12. Plaintiff alleges that at all times relevant herein Defendant conducted business in the State of

     Ohio and in the County of Muskingum, and within this judicial district.

  THE TELEPHONE CONSUMER PROTECTION ACT OF 1991, 47 U.S.C. § 227

 13. As noted above, in 1991, Congress enacted the TCPA in response to a growing number of

     consumer complaints regarding certain telemarketing practices.

 14. The TCPA regulates, among other things, the use of automated telephone equipment, or

                                                3
Case: 2:15-cv-02970-EAS-NMK Doc #: 1 Filed: 11/04/15 Page: 4 of 8 PAGEID #: 4



    "autodialers."Specifically, the plain language of section 227(b)(l)(A)(iii) prohibits the use of

    autodialers to make any call to a wireless number in the absence of an emergency or the

    prior express consent of the called party.

 15. According to findings by the Federal Communication Commission ("FCC''), the agency

    Congress vested with authority to issue regulations implementing the TCPA, such calls are

    prohibited because, as Congress found, automated or prerecorded telephone calls are a

    greater nuisance and invasion of privacy than live solicitation calls, and such calls can be

    costly and inconvenient. The FCC also recognized that wireless customers are charged for

    incoming calls whether they pay in advance or after the minutes are used.

 16. On January 4, 2008, the FCC released a Declaratory Ruling wherein it confirmed that

    autodialed and prerecorded message calls to a wireless number by a creditor (or on behalf of

    a creditor) are permitted only if the calls are made with the ''prior express consent" of the

    called party. The FCC "emphasize[d] that prior express consent is deemed to be granted only

    if the wireless number was provided by the consumer to the creditor, and that such number

    was provided during the transaction that resulted in the debt owed."

 17. The TCPA prohibits the use of any "automatic telephone dialing systems" to call cellular

    telephones. It also prohibits the use of artificial or prerecorded messages.

    "Automatic telephone dialing system" means any equipment that has the "capacity to dial

    numbers without human intervention." Griffith v. Consumer Portfolio Serv., Inc., 2011 WL

    3609012 (N.D. Ill. Aug. 16, 2011) (emphasis original).

                               FACTUAL ALLEGATIONS

 18. Within four (4) years of Plaintiff filing this Complaint, Defendant communicated with


                                                 4
Case: 2:15-cv-02970-EAS-NMK Doc #: 1 Filed: 11/04/15 Page: 5 of 8 PAGEID #: 5



     Plaintiff regarding one of Defendant’s accounts (“Account”).

 19. Within four (4) years of Plaintiff filing this Complaint, Defendant began to utilize Plaintiff’s

     cellular telephone number, ending in 0341, to place incessant calls to Plaintiff pertaining to

     the Account.

 20. Defendant calls at an annoying and harassing rate, calling Plaintiff up to two (2) times per

     day, often within minutes of each other.

 21. Defendant calls Plaintiff as early as 7:30 antemeridian time, and as late as midnight.

 22. Defendant calls Plaintiff from the telephone number of 855-870-7128.

 23. The telephone number of 855-870-7128 is one of Defendant’s telephone numbers.

 24. When Plaintiff answers Defendant’s telephone calls, there is a two (2) to three (3) minute

     delay until a live person is on the line.

 25. When Plaintiff is connected with one of Defendant’s collectors, Defendant’s collector asks

     to speak with a woman who is not Plaintiff.

 26. On multiple occasions, Plaintiff has answered Defendant’s telephone calls and told

     Defendant to stop calling Plaintiff, as Plaintiff is not, and has never been, a customer of

     Defendant’s.

 27. Despite this, Defendant continues to place repeated calls to Plaintiff, on his cellular

     telephone, using an “automated telephone dialing system.”

 28. Defendant made numerous telephone calls to Plaintiff’s cellular telephone. The

     telephone numbers that Defendant used to contact Plaintiffs with an "automatic

     telephone dialing system," were assigned to cellular telephone services as specified in

     47 U.S.C. § 227(b)(l)(A)(iii).


                                                 5
Case: 2:15-cv-02970-EAS-NMK Doc #: 1 Filed: 11/04/15 Page: 6 of 8 PAGEID #: 6



 29. The calls Defendant placed to Plaintiff's cellular telephone were placed using an automatic

    telephone dialing system.

 30. Defendant uses an “automatic telephone dialing system”, as defined by 47 U.S.C. §

    227(a)(1), to place its repeated calls to Plaintiff.

 31. Defendant’s calls constitute calls that are not for emergency purposes as defined by 47

    U.S.C. § 227(b)(1)(A).

 32. Defendant frequently uses skip-tracing services to locate telephone numbers used by

    consumers whom Defendant wishes to call.

 33. Defendant’s calls are placed to a telephone number assigned to a cellular telephone service

    for which Plaintiff incurs a charge for incoming calls pursuant to 47 U.S.C. § 227(b)(1).

 34. Under the TCPA and pursuant to the FCCs January 2008 Declaratory Ruling, the burden is

    on the Defendant to demonstrate that the Plaintiff provided express consent within the

    meaning of the statute because it is the best entity to determine how numbers were attained.

 35. Plaintiff is not a customer of Defendant’s services, and has never provided his cellular

    telephone number to Defendant for any purpose whatsoever.

 36. Accordingly, Defendant never received Plaintiff’s “prior express consent” to receive calls

    using an automatic telephone dialing system or an artificial or prerecorded voice on his

    cellular telephone pursuant to 47 U.S.C. 227(b)(1)(A).

 37. Even if Defendant received Plaintiff’s “prior express consent” to receive calls using an

    automatic telephone dialing system or an artificial or prerecorded voice, “prior express

    consent” was revoked when Plaintiff’s attorney’s office sent multiple cease and desist letters

    to Defendant.


                                                6
  Case: 2:15-cv-02970-EAS-NMK Doc #: 1 Filed: 11/04/15 Page: 7 of 8 PAGEID #: 7



   38. The natural consequences of Defendant’s statements and actions was to produce an

      unpleasant and/or hostile situation between Defendant and Plaintiff.

   39. The natural consequences of Defendant’s statements and actions was to cause Plaintiff

      mental distress.

                           DEFENDANT VIOLATED THE
                     TELEPHONE CONSUMER PROTECTION ACT

   40. Defendant’s conduct violated the TCPA by:

          a. Placing non-emergency telephone calls to Plaintiff’s cellular telephone using an

              automatic telephone dialing system and/or pre-recorded or artificial voice in

              violation of 47 U.S.C. § 227 (b)(1)(A)(iii).

      WHEREFORE, Plaintiff, LISA SHAW, respectfully requests judgment be entered against

Defendant, ALLY FINANCIAL, INC., for the following:

   41. As a result of Defendant’s negligent violations of 47 U.S.C. 227(b)(1), Plaintiff is entitled to

      and requests $500.00 in statutory damages, for each and every violation, pursuant to 47

      U.S.C. 227(b)(3)(B).

   42. As a result of Defendant’s willful and/or knowing violations of 47 U.S.C. 227(b)(1), Plaintiff

      is entitled to and requests treble damages, as provided by statute, up to $1,500.00, for each

      and every violation, pursuant to 47 U.S.C. 227(b)(3)(B) and 47 U.S.C. 227(b)(3)(C).

   43. Plaintiff is entitled to and seek injunctive relief prohibiting such conduct in the future.

   44. Any other relief that this Honorable Court deems appropriate.




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  Case: 2:15-cv-02970-EAS-NMK Doc #: 1 Filed: 11/04/15 Page: 8 of 8 PAGEID #: 8




                               RESPECTFULLY SUBMITTED,



November 3, 2015                     By:_/s/Jack S. Malkin, Esq. _____________
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                                        8
